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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

                                                       §
   In re:                                              §       Chapter 7
                                                       §
   ASTRALABS, INC.                                     §       Case No. 23-10164-SMR
     Debtor                                            §
                                                       §

               NOTICE OF WITHDRAWAL WITH PREJUDICE OF
       MOTION TO RECONSIDER ORDER CONVERTING CASE TO ONE UNDER
                              CHAPTER 7

            Thomas Dolezal and Matthew Kelly, creditors and parties in interest, file this Notice of

     Withdrawal with Prejudice of Motion to Reconsider Order Converting Case to One Under

     Chapter 7 and would show as follows:

            1.     Movants do not wish to proceed with their Motion and thereby submit this Notice

  of Withdrawal. This withdrawal is with prejudice to reasserting the relief requested. THERE

  WILL NOT BE A HEARING ON JUNE 23, 2023 ON THE MOTION.

                                                 Respectfully submitted,

                                                 BARRON & NEWBURGER PC
                                                 7320 N. MoPac Expressway, Ste. 400
                                                 Austin, Texas 78731
                                                 Telephone: (512) 649-3243

                                                 By /s/ Stephen Sather
                                                  Stephen Sather
                                                  State Bar No 17657520
                                                  ATTORNEY FOR MOVANTS
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                                   CERTIFICATE OF SERVICE

           I certify that a copy of the foregoing was served by electronic mail transmission to the
  following parties by CM/ECF and by first class mail to the parties on the attached list on June
  20, 2023:

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                                              /s/Stephen W. Sather
                                              Stephen W. Sather




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Label Matrix for local noticing      ASTRALABS Inc 10                     U.S. BANKRUPTCY COURT
0542-1                                        979 Springdale Road Suite #123    903 SAN JACINTO, SUITE 322
Case 23-10164-smr                             Austin, TX 78702-3764             AUSTIN, TX 78701-2450
Western District of Texas
Austin
Fri May 19 14:14:47 CDT 2023
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           23-10164-smr Doc#141 Filed 06/20/23 Entered 06/20/23 11:16:52 Main Document Pg 9 of
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            23-10164-smr Doc#141 Filed 06/20/23 Entered 06/20/23 11:16:52 Main Document Pg 10
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                                                             10           United States Trustee - AU12
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